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 8                                 UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    LORENZO MAYS, et al.,                              No. 2:18-cv-02081-TLN-KJN
12                       Plaintiffs,
13           v.                                          ORDER
14    COUNTY OF SACRAMENTO,
15                       Defendant.
16

17          Plaintiffs, state prisoners proceeding with retained counsel, filed this civil rights action

18   seeking relief under 42 U.S.C. § 1983. Plaintiffs and Defendants brought a joint motion for class

19   certification. (ECF No. 28.) The matter was referred to a United States Magistrate Judge

20   pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

21          On November 30, 2018, the magistrate judge filed findings and recommendations herein

22   which were served on all parties and which contained notice to all parties that any objections to

23   the findings and recommendations were to be filed within ten days. (ECF No. 46.) Neither party

24   has filed objections to the findings and recommendations.

25          The Court has reviewed the file and finds the findings and recommendations to be

26   supported by the record and by the magistrate judge’s analysis. Accordingly, IT IS HEREBY

27   ORDERED that:

28          1. The findings and recommendations filed November 30, 2018, are adopted in full;
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 1           2. The numerosity, commonality, typicality, and adequacy requirements of Rule 23(a) are

 2   satisfied.

 3           3. The requirements under both Rule 23(b)(1) and Rule 23(b)(2) are satisfied.

 4           4. This action is certified as a class action as to all claims and defenses at issue in the

 5   Complaint pursuant to Rules 23(a), 23(b)(1), and 23(b)(2) of the Federal Rules of Civil

 6   Procedure.

 7           5. The following classes are certified:

 8                     Plaintiff Class: All people who are now, or in the future will be,
                       incarcerated in the Sacramento County jails.
 9
                       Plaintiff Subclass (the “Disability Class”): All qualified
10                     individuals with disabilities, as that term is defined in 42 U.S.C. §
                       12102, 29 U.S.C. § 705(9)(B), and California Government Code §
11                     12926(j) and (m), who are, or will be in the future, incarcerated in
                       the Sacramento County jails.
12

13           6. Plaintiffs MAYS, RICHARDSON, BOTHUN, LEE, BEIRGE, and GARLAND are

14   certified to serve as representatives of the Plaintiff Class and Disability Subclass.

15           7. Disability Rights California, the Prison Law Office, and Cooley LLP are appointed as

16   class counsel to represent the interests of the Plaintiff Class and Disability Subclass. Fed. R. Civ.

17   P. 23(c)(1)(B).

18           8. A proposed notice to the Plaintiff Class and Disabilities Subclass, and the proposed

19   method of distribution of such notice, was appended to the parties’ joint status report and is under

20   review by the assigned magistrate judge.
21   Dated: December 27, 2018

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25                                           Troy L. Nunley
                                             United States District Judge
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